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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


    STATE OF RHODE ISLAND, et al.,

                           Plaintiffs,

           v.
                                                          No. 25-cv-00128
    DONALD J. TRUMP, in his official
    capacity as President of the United States,
    et al.,

                           Defendants.


                DEFENDANTS’ RESPONSE TO PLAINTIFFS’ PROPOSED ORDER

          Defendants appreciate Plaintiffs’ good-faith efforts to reach a compromise on the text of

the proposed order. Nonetheless, Defendants respectfully submit that Plaintiffs’ proposed order

does not comply with Federal Rule of Civil Procedure 65(d)(1), which requires that an order

granting an injunction “state its terms specifically” and “describe in reasonable detail—and not

by referring to the complaint or other document—the act or acts restrained or required.” Fed. R.

Civ. P. 65(d)(1)(B)–(C). Accordingly, Defendants request that this Court enter an order that

more precisely defines Defendants’ obligations, to ensure compliance with Rule 65(d)(1), and to

avoid the need to burden the Court with motion for clarification practice. 1

          As an initial matter, Plaintiffs’ proposed order covers three agencies that carry out

distinct and varying functions. The proposed order’s general mandate that the agencies “[b]e

restrained and prohibited from implementing, giving effect to, or keeping in force any policies,


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  Defendants’ response regarding the terms of the preliminary injunction order does not
constitute a waiver of their right to appeal either Plaintiffs’ entitlement to any such order or to
raise objections with the text of the order in any respect.
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memoranda, directives, or actions issued prior to the date of this order that were designed or

intended, in whole or in part, to implement, give effect to, comply with, or carry out the

directives contained in Executive Order No. 14,238,” does not provide any level of specificity or

detail that would enable implementation. While Defendants do not understand that to be the

intent of the language, the broad language of the proposed order could potentially sweep in

almost all activities that occurred since March 14, 2025, particularly in light of the reference to

actions that are taken “in whole or in part” with respect to an Executive Order that itself is

broadly defined. At a minimum, this could lead to confusion over the scope of the order—for

example, whether accepting an agency official’s voluntary departure, or taking internal efforts to

improve efficiency, constituted an action that was “in part” to implement the Order. To the

extent there are specific actions that Plaintiffs wish to enjoin that they believe are within the

scope of the preliminary injunction—reductions in force, grant terminations, etc., the appropriate

action would be to simply list those actions, so Defendants understand their obligations.

       Similarly, the proposed order then states that Defendants are to “take all necessary steps

to reverse any policies, memoranda, directives, or actions issued prior to the date of this order

that were designed or intended, in whole or in part, to implement, give effect to, comply with, or

carry out the directives contained in the Reduction EO,” but again does not specify exactly what

the agencies are expected to reverse. The proposed order does not specify whether Defendants

are to re-instate grants or reverse any reduction in force decisions. The proposed order,

therefore, creates implementation ambiguities. For example, by its terms, any obligations with

respect to employees who voluntarily departed after the issuance of the Executive Order remain

unclear. And the order does not provide any level of specificity as to any unwinding of grant

terminations for grantees that are non-parties, which runs headlong into the Court’s own standing



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analysis and makes “equitable relief against non-parties” an issue here.

       Finally, the proposed order requires full compliance within seven days. Because the

proposed order requires sweeping relief across various agencies, Defendants may not be able to

fully implement its provisions within seven days. Specifically, impediments outside Defendants’

control such as access to technology and office space may delay complete implementation, to the

extent that implementation would, for example, require all employees to be back in their pre-

March 14 offices by a certain date.

       In sum, in accordance with Rule 65(d), Defendants request a preliminary injunction order

that specifically states the actions each agency is expected to take and describes each agencies’

obligations in reasonable detail. Because Plaintiffs’ proposed order fails to do so, Defendants

request that the Court’s injunction order provide the necessary details.


Dated: May 9, 2025                            Respectfully submitted,

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